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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                        DOC#:            i   I
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E. JEAN CARROLL,
                                                                     D~~LED:      J2u(2c~j
                                     Plaintiff,


                -against-                                                                         20-cv- 7311 (LAK)


DONALD J. TRUMP in his personal capacity,

                                     Defendant.
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                                                   ORDER

LEWlS A. KAPLAJ\', District Judge.

                This action was commenced against Donald J. Trump in his individual (not his official)
capacity in New York State court. By substitution for the original private counsel for Mr. Trump, Mark E
Kasowitz, Christine A. Montenegro, and Paul J. Burgo of the firm ofKasowitz Benson Torres LLP appeared
on defendant's behalfon July 24, 2020. Dkt. 14-108.

                  On September 8, 2020, the United States of America - represented by Stephen Terrell and
other attorneys at the Department of Justice (the "DOJ") - removed the action to this Court and later moved
to substitute the United States as defendant in place of Mr. Trump. Dkt. 1. On October 27, 2020, I denied that
motion. Dkt. 33.

                 Section 1450 of the Judicial Code, 28 U.S.C. § 1450, provides in relevant part that "[a]ll
injunctions, orders, and other proceedings had in such action [i.e., any removed action] prior to its removal
shall remain in full force and effect until dissolved or modified by the district court." Accordingly, by virtue
of their appearance on behalf of Mr. Trump in the state court, Messrs. Kasowitz and Burgo and Ms.
Montenegro represent Mr. Trump in this removed action unless and until relieved by this Court. Nevertheless,
the docket sheet e!1"oneously lists Mr. Terrell and another attorney as counsel for defendant Trump. That is
incorrect. They represent only the United States.

                The Clerk shall co11"ect the docket sheet to reflect that (I) Messrs. Terrell and his colleagues
at the DOJ represent only the United States of America and (2) Messrs. Kasowitz and Burgo and Ms.
Montenegro represent Mr. Trump. The Clerk shall mail copies of this order, all others entered by this Comi
subsequent to removal, and the Court's opinion to counsel for Mr. Trump.

                 SO ORDERED.

Dated:           November 18, 2020
